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    1                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
    2                              MIAMI DIVISION
                            CASE NO. 18-CR-20256-MARTINEZ
    3

    4    UNITED STATES OF AMERICA,                Miami, Florida

    5                 Plaintiff,                  August 24, 2018

    6    vs.                                      3:39 p.m. to 4:01 p.m.

    7    RAUL SOSA, SR.,                          Pages 1 to 18

    8                 Defendant.
         _____________________________________________________________
    9

   10
                                 SENTENCING HEARING
   11                   BEFORE THE HONORABLE JOSE E. MARTINEZ
                            UNITED STATES DISTRICT JUDGE
   12

   13    APPEARANCES:

   14
         FOR THE GOVERNMENT:        EDWARD STAMM, ESQ.
   15                               MAURICE JOHNSON, ESQ.
                                    ASSISTANT UNITED STATES ATTORNEY
   16                               99 Northeast Fourth Street
                                    Miami, Florida 33132
   17

   18    FOR THE DEFENDANT:         CHRISTIAN DUNHAM, ESQ.
                                    FEDERAL PUBLIC DEFENDER'S OFFICE
   19                               150 West Flagler Street
                                    Miami, Florida 33130
   20

   21    STENOGRAPHICALLY REPORTED BY:

   22                               PATRICIA DIAZ, FCRR, RPR, FPR
                                    Official Court Reporter
   23                               United States District Court
                                    400 North Miami Avenue
   24                               11th Floor
                                    Miami, Florida 33128
   25                               (305) 523-5178
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    1             (Call to the Order of the Court.)

    2             COURTROOM DEPUTY:     Case number 18-20256-CR-Martinez,

    3    United States of America versus Raul Sosa, Sr.

    4             Counsel, please state your appearance.

    5             MR. STAMM:    Good afternoon, Your Honor, Edward Stamm

    6    and Maurice Johnson, Assistant United States Attorneys.           With

    7    us is Special Agent Willie Creech of the FBI and Special Agent

    8    Joseph Perera of the IRS.

    9             THE COURT:    Good afternoon, gentlemen.

   10             MR. DUNHAM:    Thank you, Your Honor.      Good afternoon,

   11    Christian Dunham, Assistant Federal Public Defender on behalf

   12    of Raul Sosa, who is present with the services of a Spanish

   13    interpreter.

   14             THE COURT:    Good afternoon.

   15             All right.    We are here on a sentencing.       Can I get an

   16    appearance from Probation.

   17             THE PROBATION OFFICER:      Good afternoon, Your Honor,

   18    Mercedes Sornoza on behalf of U.S. Probation.

   19             THE COURT:    Ms. Sornoza.

   20             All right.    We are here on the sentencing.       I have

   21    reviewed the stipulated factual basis and written plea

   22    agreement, the presentence investigation.        The defendant

   23    requests designation to FCI, Miami, Florida.

   24             I am not going to be that specific but I will recommend

   25    that he be incarcerated as close to South Florida as possible,
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    1    as close to the Miami area as possible, commensurate with his

    2    background and the offense for which he stands convicted.

    3             Unfortunately, we have an awful lot of people that have

    4    been flown in here from Puerto Rico that are kind of filling

    5    our local facilities, so I don't know.

    6             I have reviewed the adjustment for acceptance of

    7    responsibility, the addendum, that no objections have been

    8    reported by either side.      I'm ready to proceed at this time.       I

    9    am happy to hear from both sides starting with the Government

   10    as to what you believe is an appropriate sentence.

   11             MR. STAMM:    Yes, Your Honor, as a starting point, we

   12    believe as we had stated we would in the plea agreement we

   13    jointly recommend that the guideline range is accurately

   14    computed in the presentence investigation, and that based on

   15    that range of 18 and the criminal history category of 2 that

   16    the advisory guidelines range which is the starting point for

   17    consideration is 30 to 37 months.

   18             It's the position of the United States, Your Honor,

   19    that a reasonable sentence after consideration of the 3553(a)

   20    and 3584(b) factors, which deals with consecutive versus

   21    concurrent because Mr. Sosa is currently serving a separate

   22    unrelated federal sentence, that those would urge as the

   23    appropriate reasonable sentence, a sentence of 30 months

   24    incarceration and that it all be served consecutive to the

   25    sentence that was imposed by Judge Moore in case
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    1    15-20170-CR-Moore, which was a sentence imposed after

    2    conviction for various tax offenses after a trial.

    3             Going through the relevant, what we believe the most

    4    relevant 3553(a) factors, starting with one, the nature and

    5    circumstance of the offense, we believe that this offense which

    6    was a bribery in connection with obtaining a city contract is

    7    certainly a serious offense.      It has a number of impacts,

    8    injuring the public interest, undercutting faith in municipal

    9    government and how government works, cheating out honest

   10    bidders --

   11             THE COURT:    What faith is there in the municipal

   12    government?    Where did you find that faith that you can

   13    undermine?

   14             MR. STAMM:    Well, our hope is by trying to defend it we

   15    can restore it, Your Honor.

   16             THE COURT:    I hope so.

   17             MR. STAMM:    Obviously, honest bidders that aren't

   18    paying bribes are affected because the contract selection goes

   19    from a merit-based selection, which it is supposed to be, to

   20    simply buying a contract with an extra payment, and that's not

   21    appropriate.    I think this factor cuts in favor of a full

   22    consecutive sentence also because the contract bribery had

   23    nothing to do with the tax offenses.        They are totally

   24    unrelated, so thus separate.

   25             More importantly, this offense was committed, started,
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    1    carried out and finished while he was on bond on the tax case,

    2    and I will address that further as we go along.

    3               In terms of the history and characteristics of the

    4    offender, I will note for the Court as the Court has seen from

    5    the presentence investigation.       He has a number of brushes with

    6    the law, including prior convictions separate and apart from

    7    the tax case in front of Chief Judge Moore as well as other

    8    arrests.

    9               In this case he was -- excuse me, in the prior case he

   10    was indicted on March 17th, 2015.       He had his initial

   11    appearance and was released on bond on March 20th, 2015, and

   12    approximately one month later began the conduct which was the

   13    towing contract bribery conspiracy while he was out on that

   14    bond awaiting his trial, which took place in November of 2015.

   15               He was convicted in February of 2016, was sentenced by

   16    Chief Judge Moore to 78 months in prison for the tax offense.

   17               This case had not been charged at the time.        It was no

   18    part of factoring into that sentence in any way because if not

   19    he would have been brought to light.

   20               On top of that, interestingly enough, he has a criminal

   21    history Category 2 in this case.       We believe that is the

   22    appropriate scoring and I will note that in Judge Moore's case

   23    he was a criminal history Category 3 but --

   24               THE COURT:   That timed out.

   25               MR. STAMM:   -- the conduct in that case has extended
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    1    back so it timed out, but we believe that the guidelines are

    2    appropriate and that the range should be set in that criminal

    3    history Category 2.     Thus, we think the 30 months, so long as

    4    it's all consecutive, is sufficient.

    5             THE COURT:    Let me ask you one other factor, Mr. Stamm.

    6             MR. STAMM:    Yes.

    7             THE COURT:    As is becoming well known, there are

    8    denaturalization consequences when crimes are committed that

    9    affect naturalization.

   10             I do not believe that they fit in this case because his

   11    naturalization was in 1994, which I think is, what, 24 years

   12    ago.   I don't think that any of these factors in this case have

   13    anything to do with prior to 1994.

   14             Do you agree?

   15             MR. STAMM:    Correct.    Our conduct happened in 2015.

   16             THE COURT:    Okay.

   17             MR. STAMM:    The tax case although it spreads back a

   18    while doesn't --

   19             THE COURT:    I just wanted to make sure because I didn't

   20    want to jump up from behind a rock and surprise the defendant.

   21             MR. STAMM:    No, if it's there, we haven't found that.

   22    This case is contained in that 2015.

   23             THE COURT:    I am starting to look at it in every case

   24    to make sure if it's there that I am aware of it so the

   25    defendant is aware of that.
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    1             MR. STAMM:    I am not aware of that because of how long

    2    he had been naturalized.

    3             THE COURT:    I agree.    I think you are right.

    4             MR. STAMM:    3553(2) talks about, in the phase section

    5    reflecting the seriousness of the offense, promoting respect

    6    for the law and providing just punishment.

    7             Again, because of the nature of the offense, we believe

    8    that 30 months is a fair balance.       It's not more than is needed

    9    but not less than is needed either in light of his criminal

   10    history and the seriousness of the conduct.         But most

   11    important, and what I want to stress is we think this factor

   12    can only be served by making the entire sentence consecutive.

   13             A full consecutive sentence is not mandatory, but I

   14    will note for the Court that under Eleventh Circuit law the

   15    preference, the choice prefers to and I think they talk about

   16    it as being it evinces a preference for a consecutive sentence

   17    when the sentences are imposed at different times such as we

   18    have here.

   19             THE COURT:    Do I have to articulate two consecutives

   20    because it looks to me like I might have to?

   21             In other words, the first 24 months sentence is

   22    consecutive to Judge Moore's and the six-month sentence is

   23    consecutive to the 24 month sentence, isn't it?

   24             MR. STAMM:    It appears under 31 -- 18 U.S.C. 3147 that

   25    there does need to be that separate consecutive.          The portion
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    1    for the bump up for being on bond is a mandatory consecutive.

    2               THE COURT:   Right.

    3               MR. STAMM:   We believe it all should be but, yes, we

    4    think it's most appropriate to split it in that fashion.

    5               THE COURT:   The question is, I think I have to

    6    articulate the two consecutives.

    7               MR. STAMM:   Yes, we agree with that.

    8               THE COURT:   All right.

    9               MR. STAMM:   Most importantly, we feel in terms of the

   10    consecutive versus concurrent that if any portion is made

   11    concurrent then it is essentially giving a discount and

   12    essentially sentencing him to a lower sentence --

   13               THE COURT:   If there is anybody that's entitled to a

   14    quantity discount, it's this defendant.        I mean, really, come

   15    on.

   16               MR. STAMM:   Maybe for other things, Your Honor, but we

   17    believe that he is not entitled to that.        His current sentence

   18    according to BOP website shows a release date in July of 2021,

   19    which is about 34 months out, so it isn't like a concurrent

   20    sentence.    If it was concurrent even in part, all of that would

   21    just kind of vanish and he will only get the consecutive

   22    portion.    So we think it is most appropriate that it be imposed

   23    consecutively.

   24               THE COURT:   All right.

   25               MR. STAMM:   At the same time, Your Honor, we think the
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    1    low end is appropriate.      We are not asking for the Court to go

    2    above the low end despite the criminal history and everything,

    3    because to his credit, shortly after the indictment was

    4    returned, we got our discovery out, and Mr. Dunham contacted me

    5    very quickly that his client wanted to resolve it.

    6               So to the extent defendants earned the three points, I

    7    think he earned the three points very much, so that's why we

    8    are asking for a sentence at the lower end.         At the same time,

    9    the factor of 3553, the c factor of protecting public, we do

   10    think that his record has shown that the extra 30 months tacked

   11    on top provides the appropriate maximum kind of protection that

   12    the public should have, but we don't ask to go above it.

   13               THE COURT:   Let me ask you this; this hasn't happened

   14    yet but isn't his son going to be sentenced soon?

   15               MR. STAMM:   Yes, September 7th, Your Honor.

   16               THE COURT:   What do you think is the relative guilt of

   17    the two?

   18               MR. STAMM:   Yes, Your Honor.    Well, first, we filed a

   19    5K1 motion for the son --

   20               THE COURT:   Okay.

   21               MR. STAMM:   -- because when confronted immediately

   22    indicted he agreed to cooperate and, in fact, offered

   23    cooperation not only against a co-conspirator charged in

   24    another case Mr. Starks, but actually against his father.

   25               In addition, we will be recommending to the Court and I
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    1    believe the probation officer agreed in their recommendation in

    2    the PSI for a four-level reduction for a minimal role for the

    3    son.

    4              The deal was really negotiated by Mr. Sosa, Sr.         His

    5    son was sent in to carry it out, make payment, kind of see it

    6    all through.    So, obviously, he would be the more responsible

    7    individual.    We will be asking for a significantly less

    8    sentence for Mr. Sosa, Jr., who has no criminal record of any

    9    note and will be in a criminal history Category 1.

   10              THE COURT:    There is a substantial differential there

   11    then?

   12              MR. STAMM:    Yes, very substantial, we believe, both in

   13    how they conducted themselves in the offense and the conduct

   14    afterwards.

   15              I think that kind of covers it.       I can cite to the

   16    Court if the Court wants citation regarding the case law I

   17    referenced regarding the preference for consecutive, although I

   18    will note it's not mandatory, seems to be the leading case,

   19    United States versus Ballard, B-A-L-L-A-R-D, 6 F.3d 1502 at

   20    1506.   It's Eleventh Circuit 1993.

   21              There are a number of more recent decisions as well

   22    that cite -- I will cite only one.        I can cite more to the

   23    Court, if you wish.

   24              United States versus William, 592 Fed Appx 828, at page

   25    830, Eleventh Circuit 2014 and just I had sent over these cases
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    1    as well to Mr. Dunham so I wouldn't surprise him with it.

    2               THE COURT:    You don't have to surprise Mr. Dunham.        He

    3    is too good for that.

    4               MR. DUNHAM:    Thanks.

    5               THE COURT:    He is always ready.

    6               MR. STAMM:    Unless you have any other questions at this

    7    point --

    8               THE COURT:    Not at this point.    Thank you, sir.

    9               Mr. Dunham, I am happy to hear from you and/or the

   10    defendant.

   11               MR. DUNHAM:    Thank you, Your Honor.

   12               At first I want to note his wife and daughter are

   13    present in the courtroom.

   14               We are not very far off from the Government.        I mean, I

   15    don't -- I think my client is remorseful.         He got his son

   16    involved in this.       I think, factually, what the Government said

   17    is accurate.    It was my client's deal.       Since he got his son

   18    involved he felt very bad about that and that's one of the

   19    factors he plead guilty and timely because he wanted to try to

   20    actually help assist his son in hopefully getting a lesser

   21    sentence.

   22               So he is not here, you know, to beg the Court for

   23    leniency.    He understands what the situation is.        Really the

   24    only difference we have, Your Honor, is I think the Court said

   25    it exactly right.       I believe you have to sentence him for the
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    1    underlying offense of bribery as well as the for the 3147, for

    2    doing it while he was out on bond so it does have to be two

    3    sentences.

    4              So the only difference I believe we have is I am asking

    5    the Court to sentence him to 21 months concurrent and nine

    6    months consecutive.     The reason is because there is already --

    7    he got a three point bump up in the guidelines for doing the

    8    offense while he is out on bond.

    9              THE COURT:    Mr. Dunham, his record is horrible.

   10              MR. DUNHAM:    It's bad.

   11              THE COURT:    It's only a 2, but it's only because some

   12    them are old enough that they timed out.         I mean, he is a

   13    walking crime wave.

   14              I mean, if you look at his record it starts when he was

   15    18, and he is not a kid anymore.        These are the ones -- and we

   16    are not talking about juvenile adjudications.         We're talking

   17    about adult criminal convictions, one page, two pages, three

   18    pages, four pages, all with zero points because of the time,

   19    five pages, six pages -- or five-and-a-half pages -- no, six

   20    pages, seven pages.     Now they are starting to count.

   21              Then we are talking about the ones with the other

   22    criminal conduct 1, 2, 3 pages.       I mean, we're talking about

   23    not a life of charity and good works.

   24              MR. DUNHAM:    No, exactly.    I think -- well, first of

   25    all, I point out, I always wish that the PSI when it times out
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    1    I wish they wouldn't include the record.

    2              THE COURT:    I bet you do.    I bet you do, but I think I

    3    am entitled to see the whole picture.

    4              MR. DUNHAM:    Of course.    That was a joke.

    5              THE COURT:    You see, I told you he had a sense of

    6    humor.

    7              MR. DUNHAM:    It's there.    The record is there.     Your

    8    Honor, if I could just point out a few things on 3553 factors.

    9    Like I said, he is not here to -- we are very appreciative that

   10    the Government is recommending 30 months as opposed to 37 or

   11    even higher because, frankly, the maximum he can get is

   12    60 months.

   13              THE COURT:    Mr. Dunham, my inclination was not at the

   14    low end of the guideline, and I do respect Mr. Stamm.           He has

   15    been around a while and has always talked straight to me, so

   16    I'm listening to him.      But my inclination in a matter involving

   17    bribery of public officials is not the low end.

   18              I think I'm going to do that because he has other

   19    problems that he has dealt with.

   20              MR. DUNHAM:    That's what I was going to point out,

   21    Judge, in terms of -- I will point out his projected release

   22    date right now is July 6, 2021.        He hasn't had any -- according

   23    to the PSI, he hasn't had any disciplinary problems in prison

   24    since 2015.

   25              He does have his family support.       He has some health
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    1    conditions which I want to point out which are indicated in the

    2    PSI and I just want to get to that.

    3              He has diabetes, Your Honor.      He also had two heart

    4    attacks, one in 1996 and one in 2003.        He has had two episodes

    5    of being in a diabetic coma in 2000 and 2006.         So, he is

    6    relatively young but he has some health issues.          So, I think,

    7    obviously, I am totally in agreement that at least part of the

    8    sentence has to be consecutive under the law.         I guess really

    9    the question really is how much do you think he needs after

   10    2021.    I mean, that's up to the Court's discretion.

   11              His family members are here.      They support him.     He --

   12    like I said, he plead guilty timely and I think that does show

   13    some respect for the law at least in this case.

   14              We attempted to do a debriefing but that matter did not

   15    materialize so he decided not to do that, but his real intent

   16    was just to help his son and he does agree that he is more

   17    culpable than his son and he is hoping that the Court will

   18    sentence his son more favorably than him.

   19              I am not sure if Mr. Sosa wishes to say anything to the

   20    Court.

   21              THE COURT:    I will be happy to hear from you, sir, if

   22    you wish to say anything to me.

   23              THE DEFENDANT:    No, thank you.

   24              THE COURT:    Okay.   Thank you, sir.

   25              MR. DUNHAM:    So, Judge, under 3147, I'm looking at the
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    1    application note, and the Court should divide the sentence on

    2    the judgment form between the sentence attributable to the

    3    underlying offense and the sentence attributable to the --

    4               THE COURT:    You are too tall.    I can't hear you.     You

    5    can even talk to me sitting down.       I don't care.     I just want

    6    to hear.

    7               MR. DUNHAM:   Thank you, Your Honor.      That might be

    8    easier.

    9               I'm just looking at the application note, and it does

   10    say the Court should divide the sentence on the judgment form

   11    between the sentence attributable to the underlying offense and

   12    the sentence attributable to the enhancement.

   13               THE COURT:    Okay.   I gotta split those and then I have

   14    to add them to the others also, if I choose to.

   15               MR. DUNHAM:   I think the Court needs to determine how

   16    many months total you want to sentence Mr. Sosa to and then you

   17    divide it up however the Court wants to divide it up.

   18               THE COURT:    Thank you.   Anything further from either

   19    side?

   20               MR. STAMM:    Only after sentence is imposed we will move

   21    to dismiss Counts 2 through 5 per the plea agreement.

   22               THE COURT:    I will give you a chance to do that.

   23               MR. STAMM:    All right.

   24               THE COURT:    The Court has considered the statements of

   25    all the parties, presentence report which contains the advisory
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    1    guidelines and the statutory factors set forth in 18 U.S.C.

    2    Section 3553(a).

    3              It is the finding of the Court that the defendant is

    4    not able to pay a fine.      I'd like the probation officer to

    5    listen to me and if I say it wrong to correct me because I want

    6    to make sure I do this right.

    7              It is the judgment of the Court that the Defendant Raul

    8    Sosa, Sr., is committed to the Bureau of Prisons to be

    9    imprisoned for 30 months, which consists of 24 months as to

   10    Count 1 and consecutive six months pursuant to the enhanced

   11    penalty provided by 18 U.S.C., Section 3147.

   12              These 30 months are to be consecutive to the sentence

   13    imposed in 15-criminal-20170-CR-Moore.

   14              Is that enough?

   15              THE PROBATION OFFICER:      That's perfect, Your Honor.

   16              THE COURT:    All right.    Upon release from imprisonment

   17    the defendant shall be placed on supervised release for a term

   18    of three years as to Count 1.        Within 72 hours of release the

   19    defendant shall report in person to the probation office in the

   20    district where released.

   21              While on supervised release, the defendant shall comply

   22    with the mandatory and standard conditions of supervised

   23    release, which include not committing any crimes, prohibition

   24    from possessing a firearm or other dangerous device, not

   25    unlawfully possessing a controlled substance, cooperation in
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    1    the collection of DNA.

    2              The defendant shall also comply with the following

    3    special conditions, substance abuse treatment, financial

    4    disclosure requirement, self-employment restriction, no new

    5    debt restriction, related concern restriction and unpaid

    6    restitution, fines or special assessments as noted in Part G of

    7    the presentence report.      Further ordered, the defendant shall

    8    pay immediately to the United States a special assessment of

    9    $100 as to Count 1.

   10              The total sentence, 30 months imprisonment, three years

   11    supervised release and $100 special assessment.

   12              Now that sentence has been imposed, does the defendant

   13    or counsel object to the Court's findings of fact or the manner

   14    in which sentence was pronounced?

   15              MR. DUNHAM:    No, Your Honor.

   16              THE COURT:    Are there additional counts to be

   17    dismissed, Mr. Stamm?

   18              MR. STAMM:    Yes, Your Honor.    We would move to dismiss

   19    Counts 2 through 5, Your Honor.

   20              THE COURT:    All right.    Upon motion of the Government

   21    Counts 2 through 5 will be dismissed as to this defendant.           You

   22    have the right to appeal the sentence imposed.         Any notice of

   23    appeal must be filed within 14 days after the entry of the

   24    judgment.

   25              If you are unable to pay the cost of an appeal, you may
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    1    apply for leave to appeal in forma pauperis.

    2              And as I said earlier, I will request the Bureau of

    3    Prisons that they incarcerate him as close to the City of Miami

    4    as is possible commensurate with his background and the offense

    5    of which he stands convicted.       We are in recess on this matter.

    6              MR. DUNHAM:    Thank you, Your Honor.

    7              (The proceedings were concluded at 4:01 p.m.)

    8

    9
                                 C E R T I F I C A T E
   10

   11
                     I hereby certify that the foregoing is an
   12
         accurate transcription of the proceedings in the
   13
         above-entitled matter.
   14

   15

   16    October 12, 2018        /s/Patricia Diaz     ______
         DATE                    PATRICIA DIAZ, FCRR, RPR, FPR
   17                            Official Court Reporter
                                 United States District Court
   18                            400 North Miami Avenue, 11th Floor
                                 Miami, Florida 33128
   19                            (305) 523-5178

   20

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